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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT BECKLEY

UNITED STATES OF AMERICA

v.                                             CRIMINAL NO. 5:97-00155-02

DOUGLAS MACARTHUR HILL

                MEMORANDUM OPINION AND JUDGMENT ORDER

     Pending before the court is defendant’s motion, pursuant to

18 U.S.C. § 3582(c)(2), to reduce his sentence based on a

subsequent reduction in the applicable sentencing guideline.                On

November 1, 2007, the United States Sentencing Guidelines were

amended to reduce by two levels the guidelines in Section 2D1.1

for cocaine base (also known as crack).          Subsequently, the

Sentencing Commission amended Section 1B1.10 to make the crack

amendment retroactive, effective March 3, 2008.             Pursuant to the

court's Standing Order, this case was designated for Standard

consideration on August 14, 2008.

     The Court has received and considered the original

Presentence Investigation Report (PSI), Judgment and Commitment

Orders and Statements of Reasons, addendum to the PSI received

from the Probation Office, and any materials submitted by the

parties on this issue.      The Court has also considered the

applicable factors under 18 U.S.C. § 3553(a), consistent with

§ 3582(c)(2), and public safety.
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      Based on the foregoing considerations, the motion is

GRANTED.   The Court ORDERS that Defendant’s base offense level be

reduced by two levels, resulting in a new total offense level of

34.   It is further ORDERED that Defendant’s previous sentence be

reduced to a period of 193 months*, with credit for time served

to date.   This Order is subject to the prohibition contained

within U.S.S.G. § 1B1.10(b)(2)(C).

      The Clerk is DIRECTED to send a copy of this Memorandum

Opinion and Judgment Order, as well as the Order Regarding Motion

for Sentence Reduction (AO 247) filed this day, to defendant,

counsel of record, the Federal Public Defender, the United States

Marshal for the Southern District of West Virginia, and to the

United States Probation Office for forwarding to the Sentencing

Commission and Bureau of Prisons.

      It is SO ORDERED this 20th day of February, 2009.

                                           ENTER:


                                          David A. Faber
                                          Senior United States District Judge




      *
       The previously imposed term of imprisonment was less than
the applicable guideline range because the court granted the
government’s motion for a downward departure based on defendant’s
substantial assistance. The new sentence is comparably less than
the amended guideline range.
